Case 3:25-cv-01755-JLS-DDL   Document 1      Filed 07/09/25   PageID.1   Page 1 of 32




    1 John T. Jasnoch (CA 281605)
      SCOTT+SCOTT ATTORNEYS AT LAW LLP
    2 600 W. Broadway, Suite 3300
      San Diego, CA 92101
    3 Telephone: 619-233-4565
      Facsimile: 619-233-0508
    4 jjasnoch@scott-scott.com
    5 Counsel for Plaintiff James Alvrus
      and the Proposed Class
    6
      [Additional counsel on signature page.]
    7
    8
                          UNITED STATES DISTRICT COURT
    9                   SOUTHERN DISTRICT OF CALIFORNIA
   10 JAMES ALVRUS, Individually and On                       '25CV1755 JLS DDL
                                                     Case No. _______________
      Behalf of All Others Similarly Situated,
   11                                                CLASS ACTION COMPLAINT
                               Plaintiff,            FOR VIOLATIONS OF THE
   12                                                FEDERAL SECURITIES LAWS
              v.
   13                                                JURY TRIAL DEMANDED
      XPLR INFRASTRUCTURE, LP f/k/a
   14 NEXTERA ENERGY PARTNERS, LP,
      JOHN W. KETCHUM, BRIAN W.
   15 BOLSTER, TERRELL KIRK CREWS II,
      and NEXTERA ENERGY, INC.,
   16
   17                          Defendants.
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL        Document 1     Filed 07/09/25    PageID.2    Page 2 of 32




    1           Plaintiff James Alvrus (“Plaintiff”), individually and on behalf of all others
    2 similarly situated (together, the “Class”), by his undersigned attorneys, alleges the
    3 following against XPLR Infrastructure, LP f/k/a Nextera Energy Partners, LP, John
    4 W. Ketchum, Brian W. Bolster, Terrell Kirk Crews II, and Nextera Energy, Inc.
    5 (together, the “Defendants”) based upon information and belief, except as to those
    6 allegations concerning Plaintiff, which are alleged upon personal knowledge.
    7 Plaintiff’s information and belief are based upon, inter alia, the investigation
    8 conducted by and through Plaintiff’s attorneys, which included, among other things,
    9 a review of the Defendants’ public documents, conference calls and announcements
   10 made by Defendants, Defendants’ filings with the U.S. Securities and Exchange
   11 Commission (“SEC”), press releases and news articles regarding Defendant XPLR
   12 Infrastructure, LP f/k/a NextEra Energy Partners, LP (“XPLR”), and analysts’
   13 reports and advisories about XPLR and the industry within which it operates.
   14 Plaintiff’s investigation is ongoing and Plaintiff believes that substantial additional
   15 evidentiary support will exist for the allegations set forth herein after a reasonable
   16 opportunity for discovery.
   17                                NATURE OF THE ACTION
   18           1.     This is a federal securities class action on behalf of the Class consisting
   19 of all persons and entities other than Defendants that purchased or otherwise
   20 acquired XPLR common units between September 27, 2023 and January 27, 2025,
   21 inclusive (the “Class Period”). This action (the “Action”) seeks to recover damages
   22 caused by Defendants’ violations of Sections 10(b) and 20(a) of the Securities
   23 Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated
   24 thereunder against XPLR, its controlling company, and certain of its executives.1
   25
   26
   27   1
            15 U.S.C. §§78j(b), 78t(a); 17 C.F.R. §240.10b-5.
   28
                                                   1
                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL      Document 1     Filed 07/09/25   PageID.3   Page 3 of 32




    1         2.     XPLR acquires, owns, and manages contracted clean energy projects in
    2 the United States, including a portfolio of contracted wind and solar power projects,
    3 as well as a natural gas pipeline. XPLR changed its name from “NextEra Energy
    4 Partners, LP” to “XPLR Infrastructure, LP” in January 2025. For convenience and
    5 clarity, it is referred to as “XPLR” throughout this Complaint regardless of the time
    6 period discussed.
    7         3.     Throughout the Class Period, XPLR operated as a “yieldco”—that is, a
    8 business that owns and operates fully-built and operational power generating
    9 projects, focused on delivering large cash distributions to investors. Yieldcos are
   10 similar to the master limited partnership (MLP) structure used in the oil and gas
   11 industry and to the real estate investment trusts (REIT) used in the real estate
   12 industry.
   13         4.     Yieldcos, including XPLR, are usually affiliates of larger energy
   14 companies and are designed to hold only operational projects that were developed
   15 by the parent energy company in order to isolate the long-term contracted renewable
   16 energy assets and reduce risk. Selling assets to the yieldco frees up capital for the
   17 larger energy company, thereby allowing it to use that capital to develop other
   18 projects. In turn, the yieldco benefits by having a risk profile and dividend structure
   19 that are more attractive to institutional and retail investors.
   20         5.     At all relevant times, Defendant NextEra Energy, Inc. (“NextEra
   21 Energy”) was affiliated with and controlled XPLR and provided XPLR with
   22 potential and actual energy projects.
   23         6.     Following the failures or reorganizations of other high-profile yieldcos
   24 beginning in 2015, XPLR was one of the last remaining yieldcos on the market.
   25 Indeed, XPLR maintained its yieldco business model while championing its ability
   26 to do so, consistently increasing the amount of its cash distributions to investors.
   27
   28
                                                 2
              CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL       Document 1     Filed 07/09/25    PageID.4    Page 4 of 32




    1         7.     But XPLR eventually faced the same pressures as its competitors and
    2 in September 2023, reduced its target growth rate of its unitholder cash distributions.
    3         8.     XPLR told its investors that these reforms would place it on firm
    4 financial footing, that it would continue to increase its cash distributions at a targeted
    5 rate of 6% per year, and that those increases were secure through at least 2026, given
    6 that XPLR had sufficient capital to resolve certain financing obligations through
    7 2025 and would not require additional equity until 2027.
    8         9.     XPLR reiterated throughout the Class Period that its targeted unitholder
    9 distribution growth rate of 6% would continue through at least 2026 and that it had
   10 taken the necessary steps to ensure the viability of its yieldco model through at least
   11 that date.
   12         10.    Unfortunately for investors, however, Defendants’ repeated assurances
   13 that XPLR would continue to increase its distributions to shareholders and maintain
   14 the yieldco model were false and misleading. Specifically, Defendants made false
   15 and/or misleading statements and/or failed to disclose that: (i) XPLR was struggling
   16 to maintain its operations as a yieldco; (ii) Defendants temporarily relieved this issue
   17 by entering into certain financing arrangements, described herein, while
   18 downplaying the attendant risks; (iii) XPLR could not resolve those financings
   19 before their maturity date without risking significant unitholder dilution; (iv) as a
   20 result, Defendants planned to halt cash distributions to investors and instead redirect
   21 those funds to, inter alia, resolve those financings; (v) as a result of all the foregoing,
   22 XPLR’s yieldco business model and distribution growth rate was unsustainable; and
   23 (vi) as a result, Defendants’ public statements were materially false and misleading
   24 at all relevant times.
   25         11.    The undisclosed truth emerged on January 28, 2025, when XPLR
   26 shocked investors by announcing that it would suspend entirely cash distributions to
   27 common unitholders and essentially abandon its yieldco model. In response, the
   28
                                                  3
               CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL        Document 1     Filed 07/09/25   PageID.5     Page 5 of 32




    1 price of XPLR’s common units fell from a closing price of $15.80 per unit on
    2 January 27, 2025 to a closing price of $10.49 per unit on January 29, 2025—a decline
    3 of $5.31 per unit, or nearly 35%.
    4           12.    Through this Action, Plaintiff, on behalf of himself and the Class he
    5 seeks to represent, seeks to recover damages for the significant losses he has suffered
    6 as a result of Defendants’ wrongful acts and omissions.
    7                              JURISDICTION AND VENUE
    8           13.    The claims asserted herein arise under and pursuant to Sections 10(b)
    9 and 20(a) of the Exchange Act and Rule 10b-5 promulgated thereunder by the SEC.2
   10           14.    This Court has jurisdiction over the subject matter of this Action
   11 pursuant to 28 U.S.C. §1331 and Section 27 of the Exchange Act (15 U.S.C. §78aa).
   12           15.    Venue is proper in this Judicial District pursuant to Section 27 of the
   13 Exchange Act (15 U.S.C. §78aa) and 28 U.S.C. §1391(b)(2). Plaintiff is a resident
   14 in this District, reviewed Defendants’ misrepresentations, and made his investment
   15 decisions based thereon in this District.
   16           16.    In connection with the acts alleged in this Complaint, Defendants,
   17 directly or indirectly, used the means and instrumentalities of interstate commerce,
   18 including, but not limited to, the mails, interstate telephone and wire
   19 communications, and facilities of the national securities markets.
   20                                          PARTIES
   21           17.    Plaintiff James Alvrus, as set forth in his certification attached hereto,
   22 acquired XPLR units at artificially inflated prices during the Class Period and was
   23 damaged upon the revelation of the alleged corrective disclosures.
   24           18.    Defendant XPLR is a Delaware limited partnership with principal
   25 executive offices located at 700 Universe Boulevard, Juno Beach, Florida, 33408.
   26
   27   2
            15 U.S.C. §§78j(b), 78t(a); 17 C.F.R. §240.10b-5.
   28
                                                   4
                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL       Document 1    Filed 07/09/25   PageID.6   Page 6 of 32




    1 XPLR’s units trade in an efficient market on the New York Stock Exchange
    2 (“NYSE”) under the ticker symbol “XIFR.” Before January 2025, XPLR was
    3 known as NextEra Energy Partners, LP and traded on the NYSE under the ticker
    4 symbol “NEP.”
    5           19.   Defendant NextEra Energy is a Florida corporation with principal
    6 executive offices located at 700 Universe Boulevard, Juno Beach, Florida, 33408.
    7 At all relevant times, NextEra Energy was affiliated with and controlled XPLR. In
    8 addition, at all relevant times, “an indirect wholly owned subsidiary of” NextEra
    9 Energy and XPLR were parties to a management services agreement, “under which
   10 operational, management and administrative services are provided to XPLR under
   11 the direction of the board, including managing XPLR’s day-to-day affairs and
   12 providing individuals to act as XPLR’s executive officers.”3 At all relevant times,
   13 XPLR and an affiliate of NextEra Energy were also parties to an agreement granting
   14 that affiliate a right-of-first-refusal over the sale of any XPLR energy asset.
   15           20.   Defendant John W. Ketchum served as XPLR’s Chief Executive
   16 Officer (“CEO”) from March 1, 2022 to January 27, 2025. Defendant Ketchum has
   17 also served as Chair of XPLR’s Board of Directors since July 29, 2022.
   18           21.   Defendant Brian W. Bolster served as XPLR’s Chief Financial Officer
   19 (“CFO”) from May 6, 2024 to January 27, 2025.
   20           22.   Defendant Terrell Kirk Crews II served as XPLR’s CFO from March 1,
   21 2022 to May 6, 2024.
   22           23.   Defendants Ketchum, Bolster, and Crews are sometimes referred to
   23 herein as the “Individual Defendants.”
   24           24.   The Individual Defendants possessed the power and authority to control
   25 the contents of XPLR’s SEC filings, press releases, and other market
   26
   27   3
            XPLR Infrastructure, LP, Form 10-K (Dec. 31, 2024).
   28
                                                5
                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL      Document 1     Filed 07/09/25   PageID.7   Page 7 of 32




    1 communications. The Individual Defendants were provided with copies of XPLR’s
    2 SEC filings and press releases alleged herein to be misleading prior to or shortly
    3 after their issuance and had the ability and opportunity to prevent their issuance or
    4 to cause them to be corrected. Because of their positions with XPLR, and their
    5 access to material information available to them but not to the public, the Individual
    6 Defendants knew that the adverse facts specified herein had not been disclosed to
    7 and were being concealed from the public, and that the positive representations being
    8 made were then materially false and misleading. The Individual Defendants are
    9 liable for the false statements and omissions pleaded herein.
   10                           SUBSTANTIVE ALLEGATIONS
   11         25.    XPLR acquires, owns, and manages contracted clean energy projects in
   12 the United States, including a portfolio of contracted wind and solar power projects,
   13 as well as a natural gas pipeline.
   14         26.    Throughout the Class Period, XPLR operated as a yieldco.
   15         27.    Yieldcos, including XPLR, are usually affiliates of larger energy
   16 companies and are designed to hold only operational projects that were developed
   17 by the parent energy company, in order to isolate the long-term contracted renewable
   18 energy assets and reduce risk. Selling assets to the yieldco frees up capital for the
   19 larger energy company, thereby allowing it to use that capital to develop other
   20 projects. In turn, the yieldco benefits by having a risk profile and dividend structure
   21 that are more attractive to institutional and retail investors.
   22         28.    At all relevant times, Defendant NextEra Energy controlled XPLR and
   23 provided it with access to actual or potential energy projects for purchase.
   24         29.    XPLR first publicly listed its units in June 2014. At least six other
   25 renewable energy yieldcos, each affiliated with larger energy companies, went
   26 public at around the same time as XPLR, from about July 2013 through July 2015.
   27
   28
                                                 6
              CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL     Document 1     Filed 07/09/25   PageID.8    Page 8 of 32




    1         30.   The market valuation of these yieldcos peaked in mid-2015 and then
    2 began to decline quickly into 2016. For example, from July 25, 2015 through
    3 February 11, 2016, these yieldcos lost over 55% of their market capitalization versus
    4 a decline of only 9.06% for the S&P 500 index.
    5         31.   After this period of decline, six of these seven yieldcos—all except
    6 XPLR—fundamentally transformed their businesses or were delisted.               XPLR
    7 maintained its yieldco business model while championing its ability to do so,
    8 consistently increasing the amount of cash distributions to investors through
    9 September 2023.
   10         32.   XPLR was able to hew to its yieldco model by, among other financing
   11 mechanisms, entering into various private convertible equity portfolio financing
   12 (“CEPF”) arrangements. XPLR began using CEPFs in 2018 and claimed that they
   13 “combine[d] the best attributes of other well-known convertible products.”4
   14         33.   CEPFs are created through a partnership structure backed by specific
   15 underlying energy assets. Investors purchase CEPF interests with cash and receive
   16 a minority portion of the cash distributions from the underlying assets for a specified
   17 time period, generally three to 10 years. After that time, XPLR can buyout the CEPF
   18 investor for cash or XPLR equity at a fixed return. If XPLR elects not to do so, the
   19 underlying asset—and its cash distributions—are transferred to the CEPF investor.
   20         34.   XPLR used the cash raised through CEPF transactions to fund
   21 acquisitions of energy projects or assets, or refinance existing debt.
   22         35.   From 2018 through 2022, XPLR raised about $5.5 billion in financing
   23 through CEPF transactions.
   24
   25
        4
   26  NextEra Energy Partners, Convertible Equity Portfolio Financings, at 13 (2020),
      https://www.investor.nexteraenergypartners.com/~/media/Files/N/NEP-IR/news-
   27 and-events/events-and-presentations/2020/12-23-
      2020/NEP%20CEPF%20Teach%20In%2012-23-2020.pdf
   28
                                                7
              CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL     Document 1    Filed 07/09/25   PageID.9    Page 9 of 32




    1         36.    But by 2023, XPLR’s unit price was decreasing and interest rates were
    2 increasing, creating pressure on XPLR’s financing model, including the use of
    3 CEPFs.
    4         37.    On May 8, 2023, XPLR announced that it would shift its focus solely
    5 to renewable energy projects and sell its natural gas pipeline interests. XPLR would
    6 then use the proceeds from those sales to buy out certain CEPFs and for general
    7 corporate purposes, so that it would not have to issue additional equity through the
    8 end of 2024.
    9         38.    In addition, NextEra Energy agreed to suspend the management fee
   10 paid to it by XPLR through 2026, to allow XPLR additional cash flow to make up
   11 for the cash flow that would be lost through the sale of XPLR’s natural gas pipeline
   12 interests.
   13         39.    Unfortunately for XPLR, interest rates continued to rise, increasing
   14 pressure on XPLR’s financing model. On September 27, 2023, XPLR announced
   15 that it was cutting its target annual distribution growth rate from 12 to 15% to 5 to
   16 8%.
   17         40.    Specifically, on September 27, 2023, XPLR issued a press release that
   18 announced that it was “revising its growth rate to better position the partnership to
   19 continue to deliver long-term value for unitholders” and that XPLR was “revising
   20 its limited partner distribution per unit growth rate to 5% to 8% per year through at
   21 least 2026, with a target growth rate of 6%.”5
   22         41.    The September 2023 Press Release further quoted Defendant Ketchum,
   23 XPLR’s Chairman and CEO, who stated, “NextEra Energy Partners is revising its
   24
   25
   26   5
       Press Release, XPLR Infrastructure, NextEra Energy Partners, LP revises growth
   27 expectations and limits equity needs (Sept. 27, 2023) (the “September 2023 Press
      Release”).
   28
                                               8
              CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL    Document 1 Filed 07/09/25       PageID.10     Page 10 of
                                       32



   1 long-term growth rate expectations for limited partner distributions to increase its
   2 flexibility as it continues to execute on its growth opportunities.”
   3         42.   The September 2023 Press Release also quoted Defendant Ketchum
   4 stating that “[t]ighter monetary policy and higher interest rates obviously affect the
   5 financing needed to grow distributions at 12%, and the burden of financing this
   6 growth has had an impact on [XPLR’s] unit price and yield. In the current market
   7 environment, the partnership believes revising its growth expectations for now is the
   8 appropriate decision for unitholders and better positions it to continue to deliver
   9 long-term value.”
  10         43.   The September 2023 Press Release also stated that “[b]y reducing its
  11 growth rate and executing on its previously announced transition plans as outlined
  12 in May [2023], which includes the sale of the natural gas pipelines and the buyouts
  13 of the convertible equity portfolio financing payments due through 2025, NextEra
  14 Energy Partners does not expect to require growth equity to meet its revised growth
  15 expectations until 2027” and that “[i]f favorable market conditions exist, the
  16 partnership may elect to opportunistically issue equity, which would likely be
  17 executed through its at-the-market equity issuance program.”
  18         44.   The September 2023 Press Release further stated that “NextEra Energy
  19 Partners also plans to repower the majority of its wind portfolio in the coming years,
  20 which it believes can be accomplished at attractive cash available for distribution
  21 (CAFD) yields. It also expects to continue to look to acquire wind, solar and storage
  22 assets from NextEra Energy . . . and other third parties at favorable yields.”
  23         45.   About this, the September 2023 Press Release quoted Defendant
  24 Ketchum as stating that “[r]educing growth expectations will allow [XPLR] to focus
  25 on higher-yielding growth opportunities, such as organic repowerings in the short-
  26 to medium-term, and reduce new capital requirements.”            Defendant Ketchum
  27 continued: “Over the near and longer term, NextEra Energy[’s] industry-leading
  28
                                               9
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL    Document 1 Filed 07/09/25       PageID.11    Page 11 of
                                       32



   1 portfolio of renewables projects, which is expected to total up to 58 gigawatts
   2 through 2026, together with organic growth and third-party acquisitions, will
   3 continue to provide [XPLR] with excellent growth opportunities.              Through
   4 continued execution of its plans, [XPLR] is charting a course to a sustainable future
   5 with significant growth visibility.”
   6         46.   On January 25, 2024, XPLR held an investor and analyst conference
   7 call in connection with the release of its financial results for the fourth quarter of
   8 2023.6 During the January 2024 Call, Defendant Ketchum, XPLR’s CEO, stated
   9 that XPLR was focused on “executing against the partnership’s transition plans and
  10 delivering an LP distribution growth target of 6% through at least 2026.”
  11         47.   Discussing the distribution cut in September 2023, Ketchum stated that
  12 “[l]ast September, we made the tough decision to reduce the target distribution
  13 growth rate to 6% when [XPLR] no longer benefited from a competitive cost to
  14 capital. With a growth rate now comparable to its peers, we are focused on the
  15 partnership's cost to capital improving, which is critical for its future success.
  16 Towards that end, we are evaluating alternatives to address the remaining
  17 convertible equity portfolio financings with equity buyout obligations in 2027 and
  18 beyond. We are executing against the transition plans and with the closing of the
  19 Texas Pipeline portfolio sale, the partnership has addressed two of the three near-
  20 term convertible equity portfolio financings. The STX Midstream convertible equity
  21 portfolio financing has been extinguished and we have sufficient proceeds available
  22 to complete the NEP Renewables to buyouts that are due in June 2024 and 2025.
  23 The third convertible equity portfolio financing associated with the Meade natural
  24 gas pipeline assets is expected to be addressed in 2025.”
  25
  26
       6
  27    NextEra Energy Partners, LP, Q4 2023 Earnings Call (Jan. 25, 2024) (the “January
       2024 Call”).
  28
                                             10
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL     Document 1 Filed 07/09/25      PageID.12     Page 12 of
                                        32



   1         48.   Defendant Ketchum also assured investors that “[l]ooking ahead to
   2 2024 and beyond, [XPLR] does not expect t[o] need an[] acquisition in 2024 to meet
   3 the 6% growth and LP distributions per unit target and the partnership does not
   4 expect to require growth equity until 2027.”
   5         49.   Defendant Crews, XPLR’s CFO, stated that “[f]rom an updated base of
   6 our fourth quarter 2023 distribution per common unit and an annualized rate of
   7 $3.52, we continue to see 5% to 8% growth per year in LP distributions per unit with
   8 a current target of 6% growth per year as being a reasonable range of expectations
   9 through at least 2026. We continue to expect the partnership payout ratio to be in the
  10 mid-90s through 2026.”
  11         50.   During the January 2024 Call, an analyst from Guggenheim Securities,
  12 LLC (“Guggenheim”) asked about whether equity investors could help XPLR with
  13 its 2026 “growth and financing issues.” Defendants Crews responded, in relevant
  14 part, that XPLR was “exploring a number of opportunities and alternatives for
  15 addressing the convertible equity portfolio financing that are coming due in 2027
  16 and beyond.”
  17         51.   On April 23, 2024, XPLR held an investor and analyst conference call
  18 in connection with the release of its financial results for the first quarter of 2024.7
  19 During the April 2024 Call, Defendant Crews, XPLR’s CFO, stated that XPLR
  20 “continue[s] to focus on executing against the partnership’s transition plan and
  21 delivering an LP distribution target of 6% through at least 2026.” To that end,
  22 Defendant Crews explained that XPLR “bought out the STX Midstream convertible
  23 equity portfolio financing in 2023 and ha[s] sufficient proceeds available from the
  24 Texas pipeline portfolio sale to complete the NEP Renewables II . . . buyout due in
  25 June 2024 and 2025” and that “[t]he third convertible equity portfolio financing
  26
       7
  27    NextEra Energy Partners, LP, Q1 2024 Earnings Call (Apr. 23, 2024) (the “April
       2024 Call”).
  28
                                              11
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL     Document 1 Filed 07/09/25       PageID.13     Page 13 of
                                        32



   1 associated with the . . . [Meade] natural gas pipeline assets is expected to be
   2 addressed in 2025.”
   3         52.    During the April 2024 Call, Defendant Crews also explained that
   4 XPLR’s “plan for the near-term convertible equity portfolio financing” was “well
   5 understood” and that XPLR “remain[ed] focused on the partnership’s cost
   6 improving, which is critical for its success.” Defendant Crews added that, “[w]ith
   7 that objective in mind, we continue to evaluate alternatives to address the remaining
   8 convertible equity portfolio financing with equity buyout obligations in 2027 and
   9 beyond.”
  10         53.    As to unitholder distributions, Defendant Crews stated that XPLR
  11 “does not expect to need an acquisition this year to achieve a 6% targeted growth
  12 rate and the partnership does not expect to require growth equity until 2027.” He
  13 further explained that “[f]rom a base of our fourth quarter 2023 distribution per
  14 common unit at an annualized rate of $3.52, we continue to see 5% to 8% growth
  15 per year in LP distributions per unit, with a current target of 6% growth per year as
  16 being a range of expectation for at least 2026” and that XPLR “continue[d] to expect
  17 the partnerships payout ratio to be in the mid-90s through 2026.”
  18         54.    During the April 2024 Call, an analyst from Guggenheim asked
  19 whether XPLR was “advancing any longer-term resolution plans for the CEPF[s].”
  20 Defendant Ketchum answered that XPLR had “talked about private capital raise
  21 potentially being a solution to address” the CEPFs, that there was “a lot of interest
  22 in that,” and that “those discussions continue to move forward.”
  23         55.    On July 24, 2024, XPLR held an investor and analyst conference call
  24 in connection with the release of its financial results for the second quarter of 2024.8
  25 During the July 2024 Call, Defendant Bolster, XPLR’s CFO, stated that “[f]rom a
  26
       8
  27    NextEra Energy Partners, LP, Q2 2024 Earnings Call (July 24, 2024) (the “July
       2024 Call”).
  28
                                              12
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL     Document 1 Filed 07/09/25      PageID.14    Page 14 of
                                        32



   1 base of our fourth quarter 2023 distribution per common unit at an annualized rate
   2 of $3.52, the partnership continues to see 5% to 8% growth per year in LP
   3 distributions per unit with a current target of 6% growth per year as being a
   4 reasonable range of expectations through at least 2026.” Bolster added that XPLR
   5 “expects the partnership payout ratio to be in the mid- to high 90s through 2026”
   6 and “expect[s] the annualized rate of the fourth quarter 2024 distribution that is
   7 payable on February 2025 . . . to be $3.73 per common unit.”
   8         56.   Defendant Bolster also remarked that “[i]n terms of next steps” for
   9 XPLR, “the partnership is continuing to look at all options to secure a competitive
  10 cost of capital” and “address the remaining convertible equity portfolio financing
  11 buyouts,” but that “the partnership’s 6% distribution growth target remains for now”
  12 and that XPLR “does not need an acquisition-related financing in 2024 to meet its
  13 6% target and does not need [growth] equity until 2027.” Expanding on this, Bolster
  14 stated that XPLR “owns a large portfolio of high-quality, long-term contracted clean
  15 energy assets and the partnership has attractive organic growth from the repowering
  16 of its existing portfolio.”
  17         57.   During the July 2024 Call, a Guggenheim analyst asked for “a sense on
  18 timing” of “what range of options” XPLR was “thinking about” with respect to its
  19 financing and “how confident are you we can get something done at favorable
  20 pricing before the dividend goes under some level of pressure in ’27?”
  21         58.   Defendant Ketchum responded that XPLR was “looking at various
  22 solutions around . . . how do you tackle those back-end CEPFs in a constructive way
  23 that makes sense in terms of the cost of capital that would be required to do that and
  24 then how do we put [XPLR] in a better position for success going forward.” He
  25 further explained that XPLR was “exploring all alternatives. So we’ve mentioned
  26 private capital as one potential avenue there as well. The good thing is that we have
  27 time. We have time in 2024. We’ve said to the market, we don’t have to do
  28
                                             13
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL      Document 1 Filed 07/09/25       PageID.15     Page 15 of
                                         32



   1 anything. We don’t have any drops planned for ‘24, don’t have growth equity needs
   2 until ’27.”
   3         59.    On October 23, 2024, XPLR held an investor and analyst conference
   4 call in connection with the release of its financial results for the third quarter of
   5 2024.9 During the October 2024 Call, Defendant Bolster stated that XPLR was
   6 continuing “to evaluate alternatives to address its remaining convertible equity
   7 portfolio financing obligations and its cost of capital” and also continuing to focus
   8 “on its capital structure and the potential for redeployment of more cash flow toward
   9 driving organic cash flow growth.”
  10         60.    Defendant Bolster explained that “[g]iven the demand for power,
  11 [XPLR] has many ways in which it can seek to grow, which could include not only
  12 acquiring assets but also wind re-powerings and potential other organic growth
  13 opportunities. [XPLR] plans to complete its review by no later than the fourth
  14 quarter 2024 call and intends to provide its distribution and run-rate cash available
  15 for distribution expectations at that time.”
  16                   MATERIALLY FALSE AND MISLEADING
                   STATEMENTS ISSUED DURING THE CLASS PERIOD
  17
             61.    As set forth below, throughout the Class Period, Defendants made a
  18
       series of statements that misled investors about the stability of XPLR’s yieldco
  19
       model and its ability to continue to pay unitholder distributions through at least 2026.
  20
       Defendants’ repeated assurances that XPLR would continue to increase its
  21
       distributions to shareholders and maintain the yieldco model were false and
  22
       misleading. Specifically, Defendants made false and/or misleading statements
  23
       and/or failed to disclose that: (i) XPLR was struggling to maintain its operations as
  24
       a yieldco; (ii) Defendants temporarily relieved this issue by entering into certain
  25
  26
       9
  27    NextEra Energy Partners, LP, Q3 2024 Earnings Call (Oct. 23, 2024) (the “October
       2024 Call”).
  28
                                               14
              CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL     Document 1 Filed 07/09/25       PageID.16    Page 16 of
                                        32



   1 financing arrangements, described herein, while downplaying the attendant risks;
   2 (iii) XPLR could not resolve those financings before their maturity date without
   3 risking significant unitholder dilution; (iv) as a result, Defendants planned to halt
   4 cash distributions to investors and instead redirect those funds to, inter alia, resolve
   5 those financings; (v) as a result of all the foregoing, XPLR’s yieldco business model
   6 and distribution growth rate was unsustainable; and (vi) as a result, Defendants’
   7 public statements were materially false and misleading at all relevant times.
   8         62.   The Class Period begins on September 27, 2023. On that day, XPLR
   9 issued the September 2023 Press Release and announced that it was “revising its
  10 limited partner distribution per unit growth rate to 5% to 8% per year through at least
  11 2026, with a target growth rate of 6%.” The September 2023 Press Release also
  12 stated that “[b]y reducing its growth rate and executing on its previously announced
  13 transition plans as outlined in May [2023], which includes the sale of the natural gas
  14 pipelines and the buyouts of the convertible equity portfolio financing payments due
  15 through 2025, [XPLR] does not expect to require growth equity to meet its revised
  16 growth expectations until 2027.”
  17         63.   The foregoing was false and misleading because these statements
  18 conveyed to investors that XPLR’s lowering of its distribution target growth rate to
  19 6% “through at least 2026,” its plans to address its CEPF financing through 2025,
  20 and its expectation not to require growth equity until 2027 conveyed that XPLR’s
  21 unitholder distribution and yieldco model were secure through at least 2026. In
  22 reality, that was not true, as set forth in Paragraph 61 above.
  23         64.   During the January 2024 Call, Defendants stated that XPLR was
  24 focused on “executing against the partnership’s transition plans and delivering an
  25 LP distribution growth target of 6% through at least 2026” and that XPLR
  26 “continue[s] to see 5% to 8% growth per year in LP distributions per unit with a
  27
  28
                                              15
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL     Document 1 Filed 07/09/25        PageID.17    Page 17 of
                                        32



   1 current target of 6% growth per year as being a reasonable range of expectations
   2 through at least 2026.”
   3         65.    Defendants also stated during the January 2024 Call that XPLR had
   4 “sufficient proceeds” to complete financing buyouts in 2024 and 2025 and that
   5 XPLR “does not expect to require growth equity until 2027.”
   6         66.    In response to an analyst question during the January 2024 Call,
   7 Defendants stated that XPLR was “exploring a number of opportunities and
   8 alternatives for addressing the convertible equity portfolio financing that are coming
   9 due in 2027 and beyond.”
  10         67.    The foregoing statements in Paragraphs 64 through 66 were false and
  11 misleading because these statements conveyed to investors that XPLR’s unitholder
  12 distributions and yieldco model were secure through at least 2026, including because
  13 XPLR had sufficient proceeds to complete financing buyouts through 2025 and did
  14 not expect to require additional equity until 2027. In reality, that was not true, as set
  15 forth in Paragraph 61 above.
  16         68.    During the April 2024 Call, Defendants stated that XPLR “continue[s]
  17 to focus on executing against the partnership’s transition plan and delivering an LP
  18 distribution target of 6% through at least 2026” and that XPLR had “sufficient
  19 proceeds available” to complete financing buyouts in 2024 and 2025. Defendants
  20 also stated that XPLR’s “plan for the near-term convertible equity portfolio
  21 financing” was “well understood” and that XPLR continued “to evaluate alternatives
  22 to address the remaining convertible equity portfolio financing with equity buyout
  23 obligations in 2027 and beyond.”
  24         69.    The foregoing statements were false and misleading because these
  25 statements conveyed to investors that XPLR’s unitholder distributions and yieldco
  26 model were secure through at least 2026, including because XPLR had sufficient
  27 proceeds to complete financing buyouts through 2025 and did not expect to require
  28
                                               16
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL     Document 1 Filed 07/09/25        PageID.18    Page 18 of
                                        32



   1 additional equity until 2027. In reality, that was not true, as set forth in Paragraph
   2 61 above.
   3         70.    During the July 2024 Call, Defendants stated that XPLR “continues to
   4 see 5% to 8% growth per year in LP distributions per unit with a current target of
   5 6% growth per year as being a reasonable range of expectations through at least
   6 2026.” Defendants also stated that XPLR’s “6% distribution growth target remains
   7 for now” and that XPLR “does not need an acquisition-related financing in 2024 to
   8 meet its 6% target and does not need [growth] equity until 2027.” In response to an
   9 analyst question during the July 2024 Call about resolving XPLR’s CEPFs,
  10 Defendant Ketchum stated that “[t]he good thing is that we have time. We have time
  11 in 2024. We’ve said to the market, we don’t have to do anything. We don’t have
  12 any drops planned for ‘24, don’t have growth equity needs until ’27.”
  13         71.    The foregoing statements were false and misleading because these
  14 statements conveyed to investors that XPLR’s unitholder distributions and yieldco
  15 model were secure through at least 2026, including because XPLR did not expect to
  16 require additional equity until 2027. In reality, that was not true, as set forth in
  17 Paragraph 61 above.
  18         72.    During the October 2024 Call, Defendants stated that XPLR planned to
  19 complete its review of financing options “by no later than the fourth quarter 2024
  20 call and intends to provide its distribution and run rate cash available for distribution
  21 expectations at that time.”
  22         73.    The foregoing statements were false and misleading because these
  23 statements conveyed to investors that XPLR’s unitholder distributions and yieldco
  24 model were secure, notwithstanding XPLR’s review of its financing options. In
  25 reality, that was not true, as set forth in Paragraph 61 above.
  26
  27
  28
                                               17
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL     Document 1 Filed 07/09/25       PageID.19     Page 19 of
                                        32



   1                               THE TRUTH EMERGES
   2         74.    The undisclosed truth emerged on January 28, 2025, when XPLR
   3 shocked investors by announcing that it would suspend entirely cash distributions to
   4 common unitholders and essentially abandon its yieldco model.
   5         75.    Specifically, XPLR issued a press release announcing a “strategic
   6 respositioning” and stating that it was “moving from a business model that focused
   7 almost entirely on raising new capital to acquire assets while distributing
   8 substantially all of its excess cash flows to unitholders to a model in which XPLR
   9 Infrastructure utilizes retained operating cash flows to fund attractive
  10 investments.”10 The January 2025 Press Release continued: “Accordingly, XPLR
  11 Infrastructure is announcing the suspension of distributions to unitholders for an
  12 indefinite period. By taking these actions today, XPLR Infrastructure adopts a plan
  13 that eliminates the need for equity issuances.”
  14         76.    The January 2025 Press Release quoted Defendant Ketchum as stating:
  15 “We believe today's strategic repositioning of XPLR Infrastructure’s business model
  16 will unlock the value of the strong cash flows in the existing portfolio and best
  17 position the partnership to allocate cash flow optimally for unitholders in the future.”
  18 Ketchum continued, “Suspending the distribution is a decision we do not take
  19 lightly. However, by doing so, the partnership will have a consistent source of
  20 capital which it can invest back in the business at attractive returns. We believe
  21 using our excess cash flow to buy out selected convertible equity portfolio financings
  22 and invest in our existing portfolio of high-quality assets are our best and most
  23 immediate value-enhancing opportunities for unitholders.                Beyond these
  24 investments, we expect to have many other opportunities to reinvest our cash flow
  25 driven by the unprecedented demand for power in our country and the infrastructure
  26
       10
  27     Press Release, XPLR Infrastructure, XPLR Infrastructure, LP announces strategic
       repositioning (Jan. 28, 2025) (the “January 2025 Press Release”).
  28
                                              18
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL    Document 1 Filed 07/09/25         PageID.20    Page 20 of
                                       32



   1 required to serve it. The changes we are announcing today are intended to eliminate
   2 the need to issue equity, while enabling the partnership to both preserve its balance
   3 sheet capacity to facilitate near-term financings and maintain greater financial
   4 flexibility in the future to maximize unitholder value.”
   5        77.    In addition, XPLR announced that it had appointed a new CEO and
   6 CFO.
   7        78.    Also on January 28, 2025, XPLR held a conference call for investors
   8 and analysts, during which Defendant Bolster stated:
   9               When XPLR was established in 2014, we expected its
                   basic function to be to acquire contracted clean energy
  10               assets and to hold those assets in a portfolio that delivered
                   relatively low risk and growing cash flows. Other
  11               opportunities for growth, of course, were not ruled out, but
                   this is expected to be the main path to growth at least for
  12               some years.
  13               Explicit in this model of growth driven by acquisitions was
                   the commitment to pay out a very high proportion of
  14               annual cash flows, which necessarily meant that every new
                   acquisition would bring with it a need for new equity
  15               issuances. For many years, this model worked. However,
                   as distributions per unit grew, the partnership needed to
  16               acquire more assets and thus issue more equity to support
                   its distribution growth rate. As our equity needs grew, the
  17               existing public equity market for yieldcos proved to be
                   more limited, creating the need for substantial discounting
  18               and thus increased dilution. Therefore, we look to private
                   capital as a financing source to help support our growing
  19               equity needs and maintain our distribution growth rate.
  20               When issued, the CEPF offered a new equity -- offered
                   new equity capital to support acquisitions. Unfortunately,
  21               as we began to buy out CEPF obligations by issuing equity
                   in 2021, there was significant downward selling pressure
  22               on the unit price. If we had continued to issue equity to
                   buy out the CEPF, it would have resulted in significant
  23               dilution to unitholders. Over this time, it has become clear
                   that utilizing the significant cash available to XPLR to
  24               fund these buyouts, instead of distributing that cash and
                   issuing new equity, results in what we believe is a better
  25               economic value proposition for unitholders over the longer
                   term.
  26
            79.    The foregoing disclosures shocked the market. As reported in one of
  27
       several Bloomberg articles addressing XPLR that day, the cash distribution
  28
                                              19
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL    Document 1 Filed 07/09/25        PageID.21    Page 21 of
                                       32



   1 suspension “marked the first time the company had cut or suspended its distribution,
   2 according to a representative,” and “[c]onsensus expectations had been for a 34%
   3 cut.”11 In other words, although the market had anticipated a cut to XPLR’s cash
   4 distribution, it had been unprepared for a complete suspension of that distribution,
   5 all at once, after XPLR’s consistent history of consecutively raising its cash
   6 distribution, despite its CEPF obligations.
   7        80.    On this news, the price of XPLR’s common units fell from a closing
   8 price of $15.80 per unit on January 27, 2025 to a closing price of $10.49 per unit on
   9 January 29, 2025—a decline of $5.31 per unit, or nearly 35%.
  10        81.    As a result of Defendants’ wrongful acts and omissions, and the
  11 precipitous decline in the market value of the XPLR’s common units, Plaintiff and
  12 other Class members have suffered significant losses and damages.
  13                 PLAINTIFF’S CLASS ACTION ALLEGATIONS
  14        82.    Plaintiff brings this Action as a class action pursuant to Federal Rule of
  15 Civil Procedure 23(a) and (b)(3) on behalf of the Class, consisting of all those who
  16 purchased or otherwise acquired XPLR common units during the Class Period, that
  17 was damaged upon the revelation of the alleged corrective disclosures.12 Excluded
  18 from the Class are Defendants herein, the officers and directors of XPLR, at all
  19 relevant times, members of their immediate families and their legal representatives,
  20 heirs, successors or assigns and any entity in which Defendants have or had a
  21 controlling interest.
  22        83.    The members of the Class are so numerous that joinder of all members
  23 is impracticable. Throughout the Class Period, XPLR common units were actively
  24
       11
  25    Josh Saul & Will Wade, XPLR Slumps After Pausing Investor Payouts on Strategy
     Shift, BLOOMBERG (Jan. 28, 2025) https://news.bloombergtax.com/in-house-
  26 counsel/xplr-slumps-after-pausing-investor-payouts-on-strategy-shift-
     1?context=search&index=0
  27 12
        Fed. R. Civ. P. 23(a), (b)(3).
  28
                                             20
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL      Document 1 Filed 07/09/25        PageID.22     Page 22 of
                                         32



   1 traded on the NYSE. While the exact number of Class members is unknown to
   2 Plaintiff at this time and can be ascertained only through appropriate discovery,
   3 Plaintiff believes that there are hundreds or thousands of members in the proposed
   4 Class. Record owners and other members of the Class may be identified from
   5 records maintained by XPLR or its transfer agent and may be notified of the
   6 pendency of this Action by mail and/or email, using the form of notice similar to
   7 that customarily used in securities class actions.
   8         84.     Plaintiff’s claims are typical of the claims of the members of the Class
   9 as all members of the Class are similarly affected by Defendants’ wrongful conduct
  10 in violation of federal law that is complained of herein.
  11         85.     Plaintiff will fairly and adequately protect the interests of the members
  12 of the Class and has retained counsel competent and experienced in class and
  13 securities litigation. Plaintiff has no interests antagonistic to or in conflict with those
  14 of the Class.
  15         86.     Common questions of law and fact exist as to all members of the Class
  16 and predominate over any questions solely affecting individual members of the
  17 Class. Among the questions of law and fact common to the Class are:
  18                whether the federal securities laws were violated by Defendants’ acts
                     as alleged herein;
  19
                    whether statements made by Defendants to the investing public during
  20                 the Class Period misrepresented material facts about the business,
                     operations and management of XPLR;
  21
                    whether the Individual Defendants caused XPLR to issue false and
  22                 misleading statements during the Class Period;
  23                whether Defendants acted knowingly or recklessly in issuing false and
                     misleading financial statements;
  24
                    whether the price of XPLR common units was inflated during the Class
  25                 Period due to the Defendants’ conduct complained of herein; and
  26                whether the members of the Class have sustained damages and, if so,
                     what is the proper measure of damages.
  27
  28
                                                21
              CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL     Document 1 Filed 07/09/25        PageID.23    Page 23 of
                                        32



   1         87.    A class action is superior to all other available methods for the fair and
   2 efficient adjudication of this controversy since joinder of all members is
   3 impracticable. Furthermore, as the damages suffered by individual Class members
   4 may be relatively small, the expense and burden of individual litigation make it
   5 impossible for members of the Class to individually redress the wrongs done to them.
   6 There will be no difficulty in the management of this Action as a class action.
   7         88.    Plaintiff will rely, in part, upon the presumption of reliance established
   8 by the fraud-on-the-market doctrine in that:
   9               Defendants made public misrepresentations or failed to disclose
                    material facts during the Class Period;
  10
                   the omissions and misrepresentations were material;
  11
                   XPLR common units traded in an efficient market;
  12
                   XPLR’s common units were liquid and traded with moderate to heavy
  13                volume during the Class Period;
  14               XPLR traded on the NYSE and was covered by multiple analysts;
  15               the misrepresentations and omissions alleged would tend to induce a
                    reasonable investor to misjudge the value of XPLR’s common units;
  16                and
  17               Plaintiff and members of the Class purchased, acquired and/or sold
                    XPLR common units between the time the Defendants failed to disclose
  18                or misrepresented material facts and the time the true facts were
                    disclosed, without knowledge of the omitted or misrepresented facts.
  19
             89.    Based upon the foregoing, Plaintiff and the members of the Class are
  20
       entitled to a presumption of reliance upon the integrity of the market.
  21
             90.    Alternatively, Plaintiff and the members of the Class are entitled to the
  22
       presumption of reliance established by the Supreme Court in Affiliated Ute Citizens
  23
       of the State of Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted
  24
       material information in their Class Period statements in violation of a duty to
  25
       disclose such information, as detailed above.
  26
  27
  28
                                              22
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL     Document 1 Filed 07/09/25       PageID.24    Page 24 of
                                        32



   1                         UNDISCLOSED ADVERSE FACTS
   2         91.   The market for XPLR’s common units was open, well-developed, and
   3 efficient at all relevant times. As a result of these materially false and/or misleading
   4 statements, and/or failures to disclose, XPLR’s common units traded at artificially
   5 inflated prices during the Class Period. Plaintiff and other members of the Class,
   6 relying upon the integrity of the market price of XPLR’s common units and market
   7 information relating to XPLR, purchased or otherwise acquired XPLR’s common
   8 units and have been damaged thereby.
   9         92.   During the Class Period, Defendants materially misled the investing
  10 public, thereby inflating the price of XPLR’s common units, by publicly issuing false
  11 and/or misleading statements and/or omitting to disclose material facts necessary to
  12 make Defendants’ statements, as set forth herein, not false and/or misleading. The
  13 statements and omissions were materially false and/or misleading because they
  14 failed to disclose material adverse information and/or misrepresented the truth about
  15 XPLR’s business, operations, and prospects as alleged herein.
  16         93.   At all relevant times, the material misrepresentations and omissions
  17 particularized in this Complaint directly or proximately caused or were a substantial
  18 contributing cause of the damages sustained by Plaintiff and other members of the
  19 Class. As described herein, during the Class Period, Defendants made or caused to
  20 be made a series of materially false and/or misleading statements about XPLR’s
  21 financial well-being and prospects. These material misstatements and/or omissions
  22 had the effect of creating, in the market, an unrealistically positive assessment of
  23 XPLR and its financial well-being and prospects, including its viability as a yieldco
  24 and its ability to continue paying unitholder distributions through 2026, thus causing
  25 XPLR’s common units to be overvalued and artificially inflated at all relevant times.
  26 Defendants’ materially false and/or misleading statements during the Class Period
  27 resulted in Plaintiff and other members of the Class purchasing XPLR’s common
  28
                                              23
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL    Document 1 Filed 07/09/25      PageID.25    Page 25 of
                                       32



   1 units at artificially inflated prices, thus causing the damages complained of herein
   2 when the truth was revealed.
   3                                 LOSS CAUSATION
   4         94.   Defendants’ wrongful conduct, as alleged herein, directly and
   5 proximately caused the economic loss suffered by Plaintiff and the Class.
   6         95.   During the Class Period, Plaintiff and the Class purchased XPLR’s
   7 common units at artificially inflated prices and were damaged thereby. The price of
   8 XPLR’s common units significantly declined when the misrepresentations made to
   9 the market, and/or the information alleged herein to have been concealed from the
  10 market, and/or the effects thereof, were revealed, causing investors’ losses.
  11                                      SCIENTER
  12         96.   As alleged herein, Defendants acted with scienter since Defendants
  13 knew that: (i) the public documents and statements issued or disseminated in the
  14 name of XPLR were materially false and/or misleading; (ii) such statements or
  15 documents would be issued or disseminated to the investing public; and (iii)
  16 knowingly and substantially participated or acquiesced in the issuance or
  17 dissemination of such statements or documents as primary violations of the federal
  18 securities laws. As set forth elsewhere herein in detail, the Individual Defendants,
  19 by virtue of their receipt of information reflecting the true facts regarding XPLR,
  20 their control over, and/or receipt, and/or modification of XPLR’s allegedly
  21 materially misleading misstatements, and/or their associations with XPLR which
  22 made them privy to confidential proprietary information concerning XPLR,
  23 participated in the fraudulent scheme alleged herein.
  24                                 NO SAFE HARBOR
  25         97.   The statutory safe harbor provided for forward-looking statements
  26 under certain circumstances does not apply to any of the allegedly false statements
  27 pleaded in this Complaint. Certain of the statements alleged to be false and
  28
                                             24
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL      Document 1 Filed 07/09/25     PageID.26     Page 26 of
                                         32



   1 misleading herein relate to then-existing facts and conditions. In addition, to the
   2 extent certain of the statements alleged to be false may be characterized as forward
   3 looking, there was not meaningful cautionary statements identifying important
   4 factors that could cause actual results to differ materially from those in the
   5 purportedly forward-looking statements. In the alternative, to the extent that the
   6 statutory safe harbor is determined to apply to any forward-looking statements
   7 pleaded herein, Defendants are liable for those false forward-looking statements
   8 because at the time each of those forward-looking statements was made, the speaker
   9 had actual knowledge that the forward-looking statement was materially false or
  10 misleading, and/or the forward-looking statement was authorized or approved by an
  11 executive officer of XPLR who knew that the statement was false when made.
  12                                      COUNT I
                      (Violations of Section 10(b) of the Exchange Act and
  13         Rule 10b-5 Promulgated Thereunder Against XPLR and the Individual
                                           Defendants)
  14
                98.   Plaintiff repeats and re-alleges each and every allegation contained
  15
       above as if fully set forth herein.
  16
                99.   This Count is asserted against Defendants and is based upon
  17
       Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder by the
  18
       SEC.13
  19
                100. During the Class Period, Defendants: (i) engaged in a plan, scheme,
  20
       conspiracy and course of conduct, pursuant to which they knowingly or recklessly
  21
       engaged in acts, transactions, practices, and courses of business which operated as a
  22
       fraud and deceit upon Plaintiff and the other members of the Class; (ii) made various
  23
       untrue statements of material facts and omitted to state material facts necessary in
  24
       order to make the statements made, in light of the circumstances under which they
  25
  26
  27   13
            15 U.S.C. §78j(b); 17 C.F.R. §240.10b-5.
  28
                                              25
                CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL      Document 1 Filed 07/09/25       PageID.27     Page 27 of
                                         32



   1 were made, not misleading; and (iii) employed devices, schemes and artifices to
   2 defraud in connection with the purchase and sale of securities. Such scheme was
   3 intended to, and, throughout the Class Period, did: (i) deceive the investing public,
   4 including Plaintiff and other Class members, as alleged herein; (ii) artificially inflate
   5 and maintain the market price of XPLR common units; and (iii) cause Plaintiff and
   6 other members of the Class to purchase or otherwise acquire XPLR common units
   7 at artificially inflated prices. In furtherance of this unlawful scheme, plan and course
   8 of conduct each of the Defendants took the actions set forth herein.
   9         101. Pursuant to the above plan, scheme, conspiracy and course of conduct,
  10 each of the Defendants participated directly or indirectly in the preparation and/or
  11 issuance of the statements and documents described above, including statements
  12 made to securities analysts and the media that were designed to influence the market
  13 for XPLR common units. These statements were materially false and misleading in
  14 that they failed to disclose material adverse information and misrepresented the truth
  15 about XPLR’s finances and business prospects.
  16         102. By virtue of their positions at XPLR, Defendants had actual knowledge
  17 of the materially false and misleading statements and material omissions alleged
  18 herein and intended thereby to deceive Plaintiff and the other members of the Class,
  19 or, in the alternative, acted with reckless disregard for the truth in that they failed or
  20 refused to ascertain and disclose such facts that would reveal the materially false and
  21 misleading nature of the statements made, although such facts were readily available
  22 to Defendants. Said acts and omissions of Defendants were committed willfully or
  23 with reckless disregard for the truth. In addition, each Defendant knew or recklessly
  24 disregarded that material facts were being misrepresented or omitted as described
  25 above.
  26         103. Information showing that Defendants acted knowingly or with reckless
  27 disregard for the truth is peculiarly within Defendants’ knowledge and control. As
  28
                                               26
              CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL     Document 1 Filed 07/09/25       PageID.28    Page 28 of
                                        32



   1 the executives of XPLR and/or NextEra Energy, the Individual Defendants had
   2 knowledge of the details of XPLR’s internal affairs.
   3         104. The Individual Defendants are liable both directly and indirectly for the
   4 wrongs complained of herein. Because of their positions of control and authority,
   5 the Individual Defendants were able to and did, directly or indirectly, control the
   6 content of the statements of XPLR. As officers and/or directors of a publicly held
   7 entity, the Individual Defendants had a duty to disseminate timely, accurate, and
   8 truthful information with respect to XPLR’s businesses, operations, future financial
   9 condition and future prospects.         As a result of the dissemination of the
  10 aforementioned false and misleading public statements, the market price of XPLR
  11 common units was artificially inflated throughout the Class Period. In ignorance of
  12 the adverse facts concerning XPLR’s business and financial condition which were
  13 concealed by Defendants, Plaintiff and the other members of the Class purchased or
  14 otherwise acquired XPLR common units at artificially inflated prices and relied
  15 upon the price of the securities, the integrity of the market for the securities, and/or
  16 upon statements disseminated by Defendants, and were damaged thereby.
  17         105. During the Class Period, XPLR common units traded in an active and
  18 efficient market. Plaintiff and the other members of the Class, relying on the
  19 materially false and misleading statements described herein, which the Defendants
  20 made, issued or caused to be disseminated, or relying upon the integrity of the
  21 market, purchased or otherwise acquired common units of XPLR at prices artificially
  22 inflated by Defendants’ wrongful conduct. Had Plaintiff and the other members of
  23 the Class known the truth, they would not have purchased or otherwise acquired said
  24 securities, or would not have purchased or otherwise acquired them at the inflated
  25 prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff
  26 and the Class, the true value of XPLR common units was substantially lower than
  27 the prices paid by Plaintiff and the other members of the Class. The market price of
  28
                                              27
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL       Document 1 Filed 07/09/25     PageID.29    Page 29 of
                                          32



   1 XPLR common units declined sharply upon public disclosure of the facts alleged
   2 herein to the injury of Plaintiff and Class members.
   3            106. By reason of the conduct alleged herein, Defendants knowingly or
   4 recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act
   5 and Rule 10b-5 promulgated thereunder.14
   6            107. As a direct and proximate result of Defendants’ wrongful conduct,
   7 Plaintiff and the other members of the Class suffered damages in connection with
   8 their respective purchases, acquisitions and sales of the XPLR’s common units
   9 during the Class Period, upon the disclosure that XPLR had been disseminating
  10 misrepresented information to the investing public.
  11                                     COUNT II
                         (Violations of Section 20(a) of the Exchange Act
  12                                  Against all Defendants)
  13            108. Plaintiff repeats and re-alleges each and every allegation contained in
  14 the foregoing paragraphs as if fully set forth herein.
  15        109. During the Class Period, the Individual Defendants and NextEra
  16 Energy participated in the operation and management of XPLR, and conducted and
  17 participated, directly and indirectly, in the conduct of XPLR’s business affairs.
  18 Because of their senior positions and general corporate control over XPLR, they
  19 knew the adverse non-public information about XPLR’s misstatements.
  20            110. As officers and/or directors of a publicly-owned entity, the Individual
  21 Defendants had a duty to disseminate accurate and truthful information with respect
  22 to XPLR’s financial condition and results of operations, and to correct promptly any
  23 public statements issued by XPLR which had become materially false or misleading.
  24       111. Because of their positions of control and authority as senior officers and
  25 NextEra Energy’s general corporate control over XPLR, the Individual Defendants
  26
  27   14
            15 U.S.C. § 78j(b); 17 C.F.R. §240.10b-5.
  28
                                               28
                CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL         Document 1 Filed 07/09/25     PageID.30   Page 30 of
                                            32



   1 and NextEra Energy were able to, and did, control the contents of the various public
   2 statements which XPLR disseminated in the marketplace during the Class Period.
   3 Throughout the Class Period, the Individual Defendants and NextEra Energy
   4 exercised their power and authority to cause XPLR to engage in the wrongful acts
   5 complained of herein. The Individual Defendants and NextEra Energy, therefore,
   6 were “controlling person[s]” of XPLR within the meaning of Section 20(a) of the
   7 Exchange Act.15 In this capacity, they participated in the unlawful conduct alleged
   8 which artificially inflated the market price of XPLR common units.
   9              112. Each of the Individual Defendants and NextEra Energy, therefore, acted
  10 as a controlling person of XPLR. By reason of their senior management positions
  11 and general corporate control over XPLR, each of the Individual Defendants and
  12 NextEra Energy had the power to direct the actions of, and exercised the same to
  13 cause, XPLR to engage in the unlawful acts and conduct complained of herein. Each
  14 of the Individual Defendants and NextEra Energy exercised control over the general
  15 operations of XPLR and possessed the power to control the specific activities which
  16 comprise the primary violations about which Plaintiff and the other members of the
  17 Class complain.
  18              113. In addition, XPLR controlled the Individual Defendants and its other
  19 officers and employees.
  20              114. By reason of the above conduct, Defendants are liable pursuant to
  21 Section 20(a) of the Exchange Act.16
  22                                   PRAYER FOR RELIEF
  23              WHEREFORE, Plaintiff and the Class demand judgment against Defendants
  24 as follows:
  25
  26   15
            15 U.S.C. §78t(a).
  27   16
            Id.
  28
                                                 29
                  CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL    Document 1 Filed 07/09/25       PageID.31    Page 31 of
                                       32



   1        A.     determining that the instant action may be maintained as a class action
   2 under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the
   3 Class representative;
   4        B.     requiring Defendants to pay damages sustained by Plaintiff and the
   5 Class by reason of the acts and transactions alleged herein;
   6        C.     awarding Plaintiff and the other members of the Class prejudgment and
   7 post- judgment interest, as well as their reasonable attorneys’ fees, expert fees and
   8 other costs; and
   9        D.     awarding such other and further relief as this Court may deem just and
  10 proper.
  11                         DEMAND FOR TRIAL BY JURY
  12        Plaintiff and the Class hereby demand a trial by jury.
  13
  14 DATED: July 9, 2025             SCOTT+SCOTT ATTORNEYS AT LAW LLP
  15                                 /s/ John T. Jasnoch
                                     John T. Jasnoch (CA 281605)
  16                                 600 W. Broadway, Suite 3300
                                     San Diego, CA 92101
  17                                 Tel.: (619) 233-4565
                                     Fax: (619) 233-0508
  18                                 jjasnoch@scott-scott.com
  19                                 Thomas L. Laughlin, IV (pro hac vice forthcoming)
                                     SCOTT+SCOTT ATTORNEYS AT LAW LLP
  20                                 The Helmsley Building
                                     230 Park Avenue, 24th Floor
  21                                 New York, NY 10169
                                     Tel: (212) 223-6444
  22                                 Fax: (212) 223-6334
                                     tlaughlin@scott-scott.com
  23
                                     Counsel for Plaintiff
  24                                 James Alvrus and the Proposed Class
  25
  26
  27
  28
                                             30
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 3:25-cv-01755-JLS-DDL   Document 1 Filed 07/09/25      PageID.32    Page 32 of
                                      32



   1                                Brian J. Schall (CA 290685)
                                    THE SCHALL LAW FIRM
   2                                2049 Century Park East, Suite 2460
                                    Los Angeles, CA 90067
   3                                Tel.: (310) 301-3335
                                    Fax: (310) 388-0192
   4                                brian@schallfirm.com
   5                                Additional Counsel for Plaintiff James Alvrus
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                           31
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
